                                                                                                                                                                                                        Page:        1
                                         Case 16-31868               Doc 88     Filed 10/31/18 Entered 10/31/18 16:36:56                                     Desc Main
                                                                                            FORM 1
                                                                        INDIVIDUAL Document    Page
                                                                                   ESTATE PROPERTY   1 of 6AND REPORT
                                                                                                   RECORD
                                                                                                   ASSET CASES
Case No:               16-31868                         JSB            Judge:        Janet S. Baer                                Trustee Name:                      Frank J. Kokoszka, Trustee
Case Name:             Haris Aleem                                                                                                Date Filed (f) or Converted (c):   10/05/2016 (f)
                                                                                                                                  341(a) Meeting Date:               11/01/2016
For Period Ending:     09/30/2018                                                                                                 Claims Bar Date:                   05/10/2017


                                    1                                                2                           3                             4                           5                            6

                         Asset Description                                        Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                  Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                               Assets
                                                                                                          and Other Costs)

  1. 13026 Conifer St.                                                                    196,500.00                       0.00                                                       0.00                         FA
     Plainfield Il 60585-0000 Will
  2. 11 Bracken Ct.                                                                       574,625.00                       0.00                                                       0.00                         FA
     Lombard Il 60148-0000 Dupage
  3. Includes Electronic Equipment.                                                         3,500.00                       0.00                                                       0.00                         FA
  4. Necessary Wearing Apparel.                                                               500.00                       0.00                                                       0.00                         FA
  5. Cash                                                                                      85.00                       0.00                                                       0.00                         FA
  6. Rental Income (u)                                                                          0.00                   1,782.80                                                 1,782.80                           FA
  7. Potential Avoidance Actions (u)                                                       Unknown                    50,000.00                                                       0.00                   50,000.00

     Trustee is investigating potential avoidance actions.
     Value assigned is an estiamte only and cannot be used for
     any settlement/litigation purposes.


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $775,210.00                 $51,782.80                                                $1,782.80                    $50,000.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  At this time, the estate has minimal assets, but the trustee believes that there are additional assets. However, it will take some time to locate and liquidate such assets. - Frank J.
  Kokoszka 2/6/2017

  Trustee is investigating potential avoidance actions. - Frank J. Kokoszka 10/18/2017




  Initial Projected Date of Final Report (TFR): 01/31/2018             Current Projected Date of Final Report (TFR): 01/31/2019

  Trustee Signature:       /s/ Frank J. Kokoszka, Trustee         Date: 10/31/2018
                                                                                             Page:   2
             Case 16-31868
Frank J. Kokoszka, Trustee
                             Doc 88   Filed 10/31/18 Entered 10/31/18 16:36:56   Desc Main
19 South LaSalle Street                  Document Page 2 of 6
Ste 1201
Chicago, IL 60603-1419
312-443-9600
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(312) 443-9600
trustee@k-jlaw.com
                                                                                                                                                                                               Page:           1
                                      Case 16-31868                Doc 88 Filed 10/31/18
                                                                                       FORM 2Entered 10/31/18 16:36:56                               Desc Main
                                                                   ESTATE CASH Document     Page 3 of 6
                                                                               RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-31868                                                                                         Trustee Name: Frank J. Kokoszka, Trustee
      Case Name: Haris Aleem                                                                                            Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0223
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7908                                                                           Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 09/30/2018                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   01/30/17             6       Askounis & Darcy PC Client Trust         Post-Petition Rental Income of                        1122-000                  $1,782.40                                 $1,782.40
                                Account                                  Estate Property
                                444 North Michigan Avenue                This payment is pursuant to a
                                Suite 3270                               state court order in a citation
                                Chicago, Illinois 60611                  proceeding by a creditor of a
                                                                         corporate account. It was
                                                                         determined that the funds in the
                                                                         account were funds belonging
                                                                         to the individual debtor and not
                                                                         the corporate entity and such
                                                                         funds were turned over to the
                                                                         trustee.
   02/28/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,772.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,762.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/28/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,752.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,742.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/30/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,732.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/27/17             6       Askounis & Darcy                                                                               1122-000                      $0.40                                 $1,732.80

   07/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,722.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,712.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/29/17                     BOK Financial                            Bank Service Fee under 11                             2600-000                                          $10.00            $1,702.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)


                                                                                Page Subtotals:                                                          $1,782.80               $80.00
                                                                                                                                                                                              Page:           2
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                                                                   ESTATE CASH Document     Page 4 of 6
                                                                               RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-31868                                                                                        Trustee Name: Frank J. Kokoszka, Trustee
      Case Name: Haris Aleem                                                                                           Bank Name: BOK Financial
                                                                                                              Account Number/CD#: XXXXXX0223
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX7908                                                                          Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 09/30/2018                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                            ($)
   10/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,692.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/30/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,682.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/29/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,672.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/31/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,662.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/28/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,652.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/30/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,642.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/30/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,632.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/31/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,622.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/29/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,612.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/31/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,602.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,592.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/28/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $10.00            $1,582.80
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                Page Subtotals:                                                             $0.00              $120.00
                                                                                                       Page:   3
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                                         COLUMN TOTALS                         Desc  Main
                                                                                $1,782.80    $200.00
                            Document Page 5 of 6
                                                   Less: Bank Transfers/CD's        $0.00      $0.00
                                             Subtotal                            $1,782.80   $200.00
                                                   Less: Payments to Debtors        $0.00      $0.00
                                             Net                                 $1,782.80   $200.00




                           Page Subtotals:                                          $0.00      $0.00
                                                                                                                                                                     Page:     4
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                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                 NET             ACCOUNT
                                                                                                               NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                      XXXXXX0223 - Checking                                          $1,782.80               $200.00              $1,582.80
                                                                                                                     $1,782.80               $200.00              $1,582.80

                                                                                                             (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                     transfers)            to debtors)
                                                      Total Allocation Receipts:                    $0.00
                                                      Total Net Deposits:                        $1,782.80
                                                      Total Gross Receipts:                      $1,782.80



Trustee Signature:   /s/ Frank J. Kokoszka, Trustee     Date: 10/31/2018

                     Frank J. Kokoszka, Trustee
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                     Chicago, IL 60603-1419
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                     trustee@k-jlaw.com




                                                                              Page Subtotals:                                       $0.00                $0.00
